Case: 20-40009   Doc# 1   Filed: 01/02/20   Entered: 01/02/20 15:03:16   Page 1 of 64
Case: 20-40009   Doc# 1   Filed: 01/02/20   Entered: 01/02/20 15:03:16   Page 2 of 64
Case: 20-40009   Doc# 1   Filed: 01/02/20   Entered: 01/02/20 15:03:16   Page 3 of 64
Case: 20-40009   Doc# 1   Filed: 01/02/20   Entered: 01/02/20 15:03:16   Page 4 of 64
Case: 20-40009   Doc# 1   Filed: 01/02/20   Entered: 01/02/20 15:03:16   Page 5 of 64
Case: 20-40009   Doc# 1   Filed: 01/02/20   Entered: 01/02/20 15:03:16   Page 6 of 64
Case: 20-40009   Doc# 1   Filed: 01/02/20   Entered: 01/02/20 15:03:16   Page 7 of 64
Case: 20-40009   Doc# 1   Filed: 01/02/20   Entered: 01/02/20 15:03:16   Page 8 of 64
Case: 20-40009   Doc# 1   Filed: 01/02/20   Entered: 01/02/20 15:03:16   Page 9 of 64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 10 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 11 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 12 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 13 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 14 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 15 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 16 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 17 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 18 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 19 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 20 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 21 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 22 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 23 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 24 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 25 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 26 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 27 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 28 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 29 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 30 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 31 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 32 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 33 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 34 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 35 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 36 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 37 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 38 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 39 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 40 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 41 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 42 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 43 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 44 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 45 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 46 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 47 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 48 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 49 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 50 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 51 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 52 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 53 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 54 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 55 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 56 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 57 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 58 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 59 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 60 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 61 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 62 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 63 of
                                        64
Case: 20-40009   Doc# 1   Filed: 01/02/20 Entered: 01/02/20 15:03:16   Page 64 of
                                        64
